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                  IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF COLUMBIA



United States of America,               )     Criminal. No.: 1:21-cr-640
                                        )
            vs.                         )
                                        )
GEORGE TENNEY,                          )
                                        )
                    Defendant.          )
                                        )


                   Supplement to Sentencing Memorandum

      George Tenney, through undersigned counsel, respectfully submits

supplementary documents to his previously filed sentencing memorandum for this

Court’s consideration. These documents include letters of support from family and

friends and a letter from Mr. Tenney.



                                        Respectfully submitted,
                                        s/Charles W. Cochran
                                        Charles W. Cochran
                                        Assistant Federal Public Defender
                                        Charleston, South Carolina
                                        (843) 727-4148
November 30, 2022
